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iN 'FHE UNITED S'I`A'I`ES DIS'I`RICT COURT
F()R 'I`HE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISIGN

 

JOHN L. BUL-LGCK,
P}aintiff,
v.

WORLD SAVINGS BANK, FSB,

WACHOVIA MORTGAGE, MARY C. REE.DER,
THE CITY OF MEMPHIS, PAMELA POPE
JOHNSON, MELISSA PALO,

Defendants.

 

NOTICE OP` REMOVAL

 

C<)me now Defendants Wc)r]d Savings Bank, FSB, Wachovia Mortgage, and Mary C‘
fleeer (colfective}y, “Defendants”) pursuant to 28 U.S.C. §§ 1441 and 1446, and file this Nutice
Of Remuval of this action from the Chancery Court cf Sheiby County, Telmcssce for the
Thi:'tieth J udicial District ai Memphis and respectful!y State as foliows:

l. On May EQ, 2010, Plaintiff John I,-. Buflc)cl< (“Plaintif”) Hieci a “Petitiora for
Action to Quiet Titla” (“Complaint”) in the Chancery Cc)urt of Shelby County, Tennessee for fha
Thirtieth Ju<iécial Distri<:t at Memphis (“State Cc)urt”), Styied Jo/m L. Bzz[!ock, v. Wor/.’a's Sczvz`ngs
Bank, FSB, Wachovz'a Morigag€, Sem'or Vz'c€ PFeS:'dez/zl Mary C. Reeder, Th€ Cz`zjv Qj"Mc-zmphis,
Pame!a Pope Johnson, and Melfssa Pa[o, Case No. CH~IO~OQH§~I (“S€ate Court Actic)u"). 'J`he
S£a€e Court Actéon is still pending in the State C€)urt.

2x On or around May 26, 2010, Dei`endants were served With a copy of fha

Cum;:>}aint in the S§ate Couz't Acti<)n‘ Pursuant to 28 U.S.C. § 1446(3)` a copy cf all process,

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pleadings and orders served upon Det`endants in the State Court Action to date are attached
hereto as E-xhibit A.

3. Thc State Co'ort Action is a civii action over Which this Court has original
jurisdiction under the provisions of 28 U.S.C. § I33i because PEaintif`f has asserted causes of
action based on §§ U,S.C. § i692, 18 U.S.C. § 1344, and 18 U.S.C. §§ 1961»62. The State Court
Action is therefore removable under 28 U.S.C. § 1443§.

4. To dat.e, Det`endants have not made any appearance in the State Coult Action.

5. Pursuant to 28 U.S.C. § l446(b), Defendants have filed this Notiee prior to the
expiration ot`thirty (30) days foliowing their receipt of a copy of the Complaint.

6. Pursuant to 28 U.S.C. § 1446(d), Defendants Wifl give Wi'itten notice to Piaintiff
and wi§l fite a Notice of I~"ifing of Notic-e oi" Removai, a copy of Which is attached hereto as
Exhibit B, Wz`th the Cferk of the Circuit Court for the Statc of Tennessee, Thii'ticth Judiciai
Distriet, Sheiby County.

?. Because this action Was pending in the Cnancery Court of Sheiby County,
Tennessee for the Thirtieth Judiciai District at Memphis, removal to the United States District
Court for the Western District of Tennessee is proper under 28 U.S.C. § 1441(a).

8. AI] of the Defendants Who have been served With process in the State Coui‘t
Action have consented to the removal of the State Coiu“t Action to this Court.

WHEREFCRE, Defendants Worfd Savings Ban-k, FSB, Wachovia Mortgage, and Mary
C. Reeder pray that the State Cowt Action now pending against them in the Chancery Cout't of

Shclby County, Tennessee for Thirtieth judicial District at Mernphis be removed to this Court.

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BAKER, DONELSON, BEARMAN,
CALDWELL & BERK.OWITZ, P.C.

s! Robert F. Torn

Robext F. Toin (BPR #26636)
Laura P. i\derritt (BPR 826482)
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Ernail: rtorn(?i>bakerdonelson.corn

Counse!for World' Savfngs Bonk, FSB,
Wachovz`a Morfgage, and Mary C. Reeder

CERTIFICAT`E OF SERVICE

The undersigned hereby certifies that on this 24th day of June, 201(), a true and exact
copy of the foregoing Notice of Fiiing of Notice of Rernoval has been served upon the foliowing
counsel for the parties in interest herein by iirst~class U.S, mail, postage pre~paid:

John L. Bullocl<
3336 Durford Wood Cove
Mernphis, Ten.nessee 3 81 28

Zayid Saieern, Esq.
125 N i\/fain St., Roorn 336,
Me'rnphis, Tennessee 38103

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si Robert F. Torn

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